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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                      )
 AUSTIN SANCTUARY NETWORK, et al.,                    )
                                                      )
                Plaintiffs,                           )
                                                      )
        v.                                            )         Civil Action No. 21-0164 (ZMF)
                                                      )
 ALEJANDRO MAYORKAS, et al.,                          )
                                                      )
                Defendants.                           )
                                                      )

                   JOINT MOTION TO STAY CASE FOR SIXTY DAYS

       Plaintiffs, Austin Sanctuary Network, First Unitarian Church of Salt Lake City, Free

Migration Project, María Chaválan Sut, Vicky Yulissa Chávez-Fino, Edith Espinal Moreno, and

Hilda Veronica Ramirez-Mendez, jointly with Defendants, Alejandro Mayorkas, in his official

capacity as Secretary of the United States Department of Homeland Security (“DHS”), Tae

Johnson, in his official capacity as Acting Director of U.S. Immigration and Customs Enforcement

(“ICE”), DHS, and ICE, by and through undersigned counsel, hereby file this joint motion to stay

the instant litigation for sixty (60) days, until November 8, 2021.

       Plaintiffs’ amended complaint challenges the imposition of civil penalties for failing to

depart the United States upon orders of deportation, alleging that Defendants' enforcement of the

civil fines violate Plaintiffs' rights under the First and Eighth Amendments of the U.S. Constitution

and the Religious Freedom Restoration Act. See ECF No. 15, Pls’ Am. Compl. Defendants have

not filed their initial response to the amended complaint, which was due June 7, 2021. See April

8, 2021 Order. On June 4, 2021, the Parties filed a joint motion to stay the case for sixty days,

which this Court granted on June 14, 2021. See ECF No. 22; June 14, 2021 Order. On August 9,



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2021, the Parties filed a joint motion to stay the case for thirty days, which this Court granted on

August 10, 2021. See ECF No. 24; August 10, 2021 Order.

       As previously reported in the Parties’ joint motions, on April 23, 2021, Defendant DHS

announced the rescission of civil penalties for failure to depart the United States. See “DHS

Announces         Recission       of       Civil       Penalties       for       Failure-to-Depart,”

https://www.dhs.gov/news/2021/04/23/dhs-announces-rescission-civil-penalties-failure-depart

(last accessed June 4, 2021). See also ECF No. 15, Pls’ Am. Compl. ¶¶ 1-6, 43-44, Plaintiffs’ First

through Fifth Claims for Relief, Plaintiffs’ Prayer for Relief. As part of the announcement, DHS

also announced that ICE “intends to work with the Department of Treasury to cancel the existing

debts of those who have been fined.” Id.

       To date, ICE is still working with the Department of Treasury to cancel the existing debts

of the individual Plaintiffs. In addition, the individual Plaintiffs have filed administrative claims

regarding the civil fines under the Federal Tort Claims Act (“FTCA”), which are being

administratively reviewed.

       In order to afford the Parties additional time to discuss the impact of DHS’s change in

policy on the claims in this case, the timing of Treasury’s cancellation of the existing debts and

notice to Plaintiffs, the impact of individual Plaintiffs’ claims under the FTCA, and how best to

proceed in the litigation given these changes, the Parties jointly and respectfully request a stay of

sixty (60) days. The Parties believe that a stay would promote judicial economy by allowing the

Parties to continue to discuss the impact of these changes and how to best resolve Plaintiffs’

remaining claims, if any. A stay will also permit the Parties to address how the claims under the

FTCA, if administratively denied, will be incorporated in this litigation. Because the government




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has voluntarily ceased and desisted from collection of the fines, there is no hardship or prejudice

to either party during the period of the proposed stay.

       Wherefore, the Parties request that this Court stay the litigation for sixty (60) days, until

November 8, 2021, while the Parties discuss next steps in the litigation. Should the Parties reach

resolution without the need for litigation prior to the expiration of the stay, the Parties will

promptly notify the Court. In the absence of a resolution, the parties will file a Joint Status Report

on November 8, 2021 setting forth their proposal for additional proceedings.



Dated: September 8, 2021                           Respectfully submitted,


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                             * Motion for Pro Hac Vice Admission Granted

                             Counsel for Plaintiffs




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